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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

Tanjaneka Jones, ;
y ° Case No, ADC-20-3564

Eli Lilly and Company

NOTICE OF APPEAL
Tanjaneka Jones

(fill in names of all parties who are appealing)

Notice is hereby given that

Plai ntiff in the above captioned case, hereby appeals to the

{indicate plaintifi/s or defendant/s}

Memorandum Opinion and Order

United States Court of Appeals for the Fourth Circuit the

April 7, 2023

{indicate order or judgment)

entered in this case on

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eo we

May Z, 2023 ,
Date Signature
Janice Williams-Jones (25701)

Printed Name and Bar Number

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NoticecfAppeal (06/2016)
